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                                                    IN THE UNITED STATES DISTRICT COURT
                                                           DISTRICT OF MARYLAND
                                                            (NORTHERN DIVISION)

                            JAMES HANDLEY                               *
                            1730 Bollinger Road,                        *
                            Westminster, Maryland 21157                 *
                             (CARROLL COUNTY)                           *
                                                                        *       Civil     No.     _______________________
                                    Plaintiff,                          *
                                                                        *
                            v.                                          *
                                                                        *
                            BALTIMORE POLICE                            *
                            DEPARTMENT                                  *
                            601 E. Fayette Street                       *
                            Baltimore, Maryland 21202                   *
                            (BALTIMORE CITY)                            *
                                                                        *
                            Serve on:                                   *
                                   Lisa Walden, Esquire                 *
                                   Office of Legal Affairs      *
                                   100 N. Holiday Street, Suite 101
                                                                *
                                   Baltimore, Maryland 21202    *
                                                                *
                                  Defendant                     *
                            *******************************************************************************
                                             COMPLAINT FOR DAMAGES UNDER TITLE VII
                                                      AND JURY TRIAL DEMAND

                                    Plaintiff, James Handley, by and through undersigned counsel, hereby brings this action

                            pursuant to Title VII of the Civil Rights Act of 1654 (“Title VII”), 42 U.S.C. §§ 2000e et seq., as

                            amended by the Civil Rights Act of 1991, to remedy acts of employment discrimination and

                            retaliation against him by his employer, Defendant, Baltimore Police Department (“BPD”), and in

                            support thereof, states the following:

                                            I.     JURISDICTION AND VENUE

                                    1.      This action arises under the provisions of Title VII and the Fourteenth Amendment

                            to the United States Constitution.

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                                   2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

                                   3.      Venue is proper in this Court pursuant to 42 U.S.C. § 2000e and 28 U.S.C. § 1391.

                                   4.      The Court has personal jurisdiction over the Baltimore Police Department as a

                            citizen of Maryland or as a person who transacts business within the State of Maryland.

                                           II.      PARTIES

                                   5.      Plaintiff is an adult citizen of the United States and a resident of the State of

                            Maryland.

                                   6.      The Baltimore Police Department is a municipal police department created by the

                            State of Maryland whose jurisdiction encompasses Baltimore, Maryland.

                                   7.      All at times relevant, Plaintiff was employed by the Baltimore Police Department.

                                   8.      At all times relevant, the Baltimore Police Department was an “employer” as

                            defined by 42 U.S.C. § 2000e(b) and employed the requisite number of employees to make it

                            subject to Title VII.

                                   9.      At all times relevant, the Baltimore Police Department acted by and through the

                            acts of its agents, servants, and or employees, including but not limited to Former Police

                            Commissioners, Darryl De Sousa (“De Sousa”) and Garry Tuggle (“Tuggle).

                                           III.     ADMINISTRATIVE PROCEEDINGS

                                   10.     On June 28, 2018, Plaintiff timely dual filed a Charge of Discrimination with the

                            Maryland Commission on Civil Rights (“MCCR”) and the United States Equal Opportunity

                            Commission (“EEOC”), alleging race and sex discrimination and retaliation. The MCCR retained

                            jurisdiction over the Charge of Discrimination.

                                   11.     The MCCR held a Fact-Finding Conference but did not issue a written finding.

                                   12.     On February 6, 2020, the EEOC issued Plaintiff a Notice of Right to Sue. (Ex. 1.)
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                                   13.     Plaintiff timely files this Complaint within 90 days of receipt of the Notice.

                                           IV.      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

                                   14.     Plaintiff incorporates by reference the allegations contained in Paragraphs 1

                            through 13 with the same effect as if fully set forth herein.

                                   15.     Plaintiff is a Caucasian male. He has been a decorated member of the BPD since

                            1998. He was promoted to Sergeant in 2003 and Lieutenant in 2007. In 2011, he was promoted to

                            Deputy Major and, in 2012, was made a Major. In January 2016, Plaintiff was assigned to

                            Recruitment and worked closely with the Mayor’s office.

                                   16.     In 2017, Mayor Catherine Pugh spoke publicly about the success of the BPD

                            Recruitment Unit under Plaintiff’s command, stating that the BPD had hired more sworn officers

                            than it lost to attrition for the first time since 2009. More than 200 sworn officers were hired in

                            2017, a feat which had not occurred since 2012. Prior to Plaintiff’s assignment to the Recruitment

                            Unit, only 91 sworn officers were hired in 2015. Under Plaintiff’s leadership, within two (2)

                            years, hiring increased by 127%.

                                   17.     During Plaintiff’s command in the Recruitment Unit, De Sousa’s son, Daniel De

                            Sousa, applied to become a BPD police officer but was disqualified from the hiring process due to

                            a lack of integrity and an automatic COMAR Disqualifier.

                                   A. Plaintiff is promoted to Acting Inspector under Commissioner Davis.

                                   18.     On January 16, 2018, former BPD Police Commissioner Kevin Davis (“Davis”)

                            promoted Plaintiff to “Acting Inspector” of the Recruitment and Professional Development

                            Division. In addition to promoting Plaintiff, Davis took the following personnel actions:

                                           •     Donald Bauer, III (Caucasian/Male) was promoted to Acting Chief
                                           •     Byron Conaway (African American/Male) was promoted to Acting Inspector
                                           •     James Rhoden (American Indian /Male) was promoted to Acting Major

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                                            •   Dion Hatchett (African American /Male) was promoted to Acting Major
                                            •   Daryl Gaines (African American /Male) was promoted to Acting Captain
                                            •   Sean Brown (African American /Male) was promoted to Acting Captain
                                            •   Lisa Robinson (African American /Female) was promoted to Acting Captain
                                            •   Dwayne Swinton (African American /Male) was promoted to Acting Captain

                                   19.      During a round-table meeting prior to the promotions, Jason Johnson

                            (Caucasian/Male), the Deputy Commissioner of the Strategic Services Bureau, witnessed De

                            Sousa strongly object to Plaintiff’s promotion because he denied his son’s application to the BPD.

                            De Sousa was the only Senior Command Staff member present during the meeting to object to

                            Plaintiff’s promotion to Acting Inspector.

                                   B. Davis is fired and upon De Sousa’s appointment as the Interim Police
                                      Commissioner, he demotes Plaintiff.

                                         1. January 19, 2018 – De Sousa’s Appointment, Plaintiff’s Computer Seized, Cell
                                            Phone Disconnected, and Building Access Deactivated.

                                   20.      On Friday, January 19, 2018 at 0750 (7:50 a.m.), while Plaintiff was working in the

                            Recruitment office, his computer became non-operable. Between 0755 (7:55 a.m.) and 0808 hours

                            (8:08 a.m.), Plaintiff reached out repeatedly to the Information Technology Section (“ITS”) and

                            Lt. LaTanya Brown (African American/Female) for help regarding his computer access but he was

                            unable to reach anyone. At 0757 (7:57 a.m.), Plaintiff was advised by Lieutenant Chris Nyberg

                            (Caucasian/Male) that Davis had been fired and De Sousa had been named as the Acting Police

                            Commissioner.

                                   21.      At 0810 (8:10 a.m.), Lt. Brown entered Plaintiff’s office without knocking and

                            advised him that she had been instructed to seize his computer. When Plaintiff asked who ordered

                            the removal, Lt. Brown stated that she had been ordered not to tell him who gave the order.

                            Thereafter, Plaintiff asked who else was having their computer taken and Lt. Brown again

                            responded that she had been ordered not to tell him who gave the order.

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                                   22.     Plaintiff then began telephoning other members of the BPD, including his direct

                            supervisor, Deputy Commissioner Jason Johnson (Caucasian/Male) (“Johnson”); however, no one

                            had any information about why his computer had been seized. By 0847 hours (8:47 a.m.),

                            Plaintiff’s Departmental cellphone suddenly became disabled.

                                   23.     At 0925 hours (9:25 a.m.), Plaintiff went to Johnson’s office and Major Martin

                            Bartness (Caucasian/Male) and Lieutenant Robbie Quick (Caucasian/Male) were in Major

                            Bartness’ office. At that time, he learned that his BPD access badge had been deactivated. He also

                            learned that Major Bartness, Lt. Quick and Deputy Commissioner Johnson’s computers had also

                            been seized.

                                   24.     At 1149 hours (11:49 a.m.), Plaintiff’s cellphone service was restored without any

                            explanation as to why it had been disconnected. At 1215 hours (12:15 p.m.), Lt. Brown returned to

                            Plaintiff’s office with his computer and stated “Your computer was taken because it was going to

                            be replaced with a new computer. No new computer could be located so your computer is being

                            returned.” Around the same time that Plaintiff’s computer was returned, he began hearing rumors

                            that his demotion was imminent.

                                   25.     Following the January 19, 2018 firing of Davis and appointment of De Sousa, the

                            media reported on the rampant “confusion” concerning the BPD’s seizure of computers,

                            deactivation of access to BPD buildings and cell service disconnections. Mayor Pugh’s office

                            denied that the actions signaled a large “purge” of the top commanders put into key leadership

                            roles by Davis. The Mayor’s spokesperson reported that the issues with access and cell phones

                            being disconnected were because of a “technical issue.”

                                   26.     De Sousa later acknowledged to the news media that “he gave the order to cut off at

                            least one commander’s access to department files and communication systems in hopes of


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                            preventing leaks of sensitive information.” Rector, Kevin “Acting Police Commissioner says he

                            cut command office access after Davis firing for fear of leaks,” Baltimore Sun, (01/26/2018)

                                   27.      During the interview, De Sousa declined to name the commander or commanders

                            he “targeted,” citing “an ongoing internal investigation.”         Rector, Kevin “Acting Police

                            Commissioner says he cut command office access after Davis firing for fear of leaks,” Baltimore

                            Sun, (01/26/2018) De Sousa admitted that the decision to seize the computers, cut off cell service

                            and deactivate building access was “solely [his] decision.” Id. The article further reported that

                            after Davis’ firing, two police leaders resigned; namely, Chief Ganesha Martin and Deputy

                            Commissioner Johnson but denied that there had been any other “command changes.” Id. De

                            Sousa reported that he hoped to announce the “restructure” of the Department, with new

                            appointments to his top command staff, by the middle of the following week. Id.

                                   28.      After January 19, 2018, Plaintiff’s status within the BPD was in limbo as he was

                            given no information as to his rank (Acting Inspector) and his duty assignment. This was because

                            he had not been provided with any information regarding his job responsibilities from any member

                            of the Command Staff.

                                         2. February 2, 2018 – De Sousa Demotes Plaintiff from Acting Inspector to
                                            Major and Involuntarily Transfers him to the Southwest District.

                                   29.      On February 2, 2018, at 1640 hours (4:40 p.m.), Plaintiff received a telephone call

                            to report to De Sousa’s office. At 1830 hours (6:30 p.m.), Plaintiff reported to De Sousa’s office;

                            also present was Deputy Commissioner Andre Bonaparte (African American/Male).

                                   30.      During the five (5) minute meeting, De Sousa advised Plaintiff that there were four

                            (4) Districts that were vital to crime reduction and that he was being returned to the Southwest

                            District as the District Commander. De Sousa also advised that he was “abolishing the Inspector’s

                            rank and was returning to the Lieutenant Colonel rank.” De Sousa told Plaintiff that he would be

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                            returning to the rank of “Major.” Plaintiff was also advised that Dwayne Swinton (African

                            American/Male) would be the Captain of the Southwest District and that Plaintiff was to mentor

                            him. Immediately prior to De Sousa’s decision to involuntarily transfer Plaintiff, he had been

                            ranked as an “Acting Inspector” (one rank higher than Major) and been assigned to the

                            Recruitment and Professional Development Division.

                                         3. De Sousa’s reason for demoting Plaintiff was a sham and based upon
                                            discriminatory and retaliatory reasons.

                                   31.      De Sousa’s expressed reason for demoting Plaintiff was a sham and the real reason

                            for the demotion was discrimination and retaliation. De Sousa did not “do away with Inspector

                            positions;” rather, he changed “titles” but not the organizational structure:

                                   Davis Command Structure                         De Sousa Command Structure

                                            Commissioner                  =               Commissioner
                                            Deputy Commissioner           =               Deputy Commissioner
                                            Chief                         returned to     Colonel
                                            Inspector                     returned to     Lieutenant Colonel

                                   32.      After changing the titles, De Sousa impermissibly made command-level

                            employment decisions based upon race regarding which officers to promote and/or demote. For

                            instance:

                                   •     Acting Chief Donald Bauer (Caucasian/Male) was demoted to Lt. Colonel;
                                   •     Acting Inspector James Handley (Caucasian /Male) was demoted to Major;
                                   •     Major Martin Bartness (Caucasian /Male) was demoted to Lieutenant;
                                   •     Major Latonya Lewis (African American/Female) was promoted to Lt. Colonel;
                                   •     Acting Major Dion Hatchett (African American /Male) was promoted to Major;
                                   •     Acting Inspector Byron Conaway (African American /Male) was promoted to
                                         Colonel;
                                   •     Acting Captain Daryl Gains (African American /Male) was promoted to Captain;
                                   •     Acting Captain Sean Brown (African American/Male) was promoted to Captain;
                                   •     Acting Captain Lisa Robinson (African American /Female) was promoted to
                                         Captain;
                                   •     Acting Captain Dwayne Swinton (African American /Male) was promoted to
                                         Captain.

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                                   33.      De Sousa promoted African American command members while demoting and/or

                            not honoring the promotions of Caucasian command members, including Plaintiff’s promotion to

                            Acting Inspector. Had Plaintiff’s promotion been honored, he would have been a Lt. Colonel and

                            receiving a salary corresponding to that position. Instead, he was demoted down to the position

                            and salary of a Major.

                                         4. February 6, 2018 – De Sousa directs Internal Affairs to Investigate Plaintiff.

                                   34.      On February 6, 2018, Chief Melissa Hyatt (Caucasian/Female) requested that

                            Plaintiff provide her with Daniel De Sousa’s entire hiring folder. Chief Hyatt oversaw the

                            recruiting and hiring of sworn BPD members and, at that time, was the highest-ranking member of

                            the Department with recruiting and hiring under her purview.

                                   35.      At 1301 hours (1:01 p.m.), Major Ian Dombroski (Caucasian/Male) contacted

                            Plaintiff and asked him to report to the Internal Affairs Division to speak with Chief Rodney Hill.

                            (African American/Male). Chief Hill directed him to bring a certain officer’s personnel folder with

                            him (hereinafter “Officer Doe”), so they could discuss Officer Doe’s hiring. Information had been

                            provided to Chief Hill by an unidentified source that Officer Doe had been hired even though he

                            had been arrested for a narcotics violation. Plaintiff retrieved Officer Doe’s folder and reported to

                            the Internal Affairs Division.

                                   36.      Plaintiff met with Chief Hill and Major Dombroski. At the start of the meeting,

                            Chief Hill advised him that De Sousa had contacted him and requested the investigation into the

                            hiring of Officer Doe. Chief Hill said the interview was not disciplinary in nature and was not part

                            of an ongoing investigation against Plaintiff; therefore, Plaintiff spoke freely (and without counsel

                            present) regarding Officer Doe’s background investigation. After reviewing Officer Doe’s

                            application and responses concerning his criminal background and other verifications, Chief Hill


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                            and Major Dombroski agreed that there were no issues regarding the hiring of Officer Doe. Chief

                            Hill told Plaintiff that he would relay this information to De Sousa. During the meeting, Plaintiff

                            reported to Chief Hill and Major Dombroski that he had assisted De Sousa’s son and other

                            applicants with completing expungement documents and that the difference between Daniel

                            DeSousa’s application and Officer Doe was that Officer Doe had been completely honest

                            throughout the entire hiring process, unlike Daniel De Sousa.

                                   37.     In Plaintiff’s two (2) years as the commanding officer of the BPD Recruitment

                            Unit, he had never been questioned by any member of the Internal Affairs Division regarding a

                            hiring decision. Prior to De Sousa’s appointment as Interim Police Commissioner, Davis would

                            speak directly to Plaintiff regarding hiring-related issues and Davis and/or his Chief of Staff would

                            review any personnel or hiring folders if there were any questions or concerns. Therefore, De

                            Sousa’s decision to order the Internal Affairs Division to investigate Plaintiff’s hiring decisions is

                            unprecedented.

                                   38.     At 1922 hours (7:22 p.m.), Plaintiff telephoned Major Dombroski to express his

                            concerns regarding the investigation into Officer Doe. In addition, Plaintiff told him that he

                            believed that De Sousa was actively looking for candidates that were hired for comparison to

                            Daniel DeSousa, who had not been hired. Major Dombroski confirmed Plaintiff’s suspicion and

                            stated that Chief Hill had told him that De Sousa had spoken to him about his son’s prior

                            disqualification from the BPD hiring process, prior to ordering him to interview Plaintiff about

                            Officer Doe.

                                         5. February 8, 2018 – De Sousa moves then Major Margaret Barillaro to
                                            Plaintiff’s former position at Training and Personnel Division.




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                                    39.      Plaintiff’s transition to the Southwest District was announced at a February 8, 2018

                            Comstat Meeting. On that same day, De Sousa replaced Plaintiff with Lieutenant Colonel

                            Margaret Barillaro (Caucasian/Female) to head the Training and Personnel Divisions.

                                    40.      Lt. Col. Barillaro was less qualified to take over Plaintiff’s position because while

                            she was the Major assigned to the Southern District, she allowed certain Special Police Officers1

                            to wear clothing that identified them as “Police,” possess BPD radios, attend BPD roll call at the

                            Southern District, park their personal vehicles at BPD stations, utilize police-like flashing vehicle

                            lights, respond to BPD calls, including participating in police chases, arrests and searches, all

                            outside the jurisdiction of their Special Police Officer commissions. Essentially, Lt. Col. Barillaro

                            allowed these Special Police Officers to hold themselves out to the general public as sworn police

                            officers of the BPD. Lt. Col. Barillaro was forced to terminate this relationship between the BPD

                            and these Special Police Officers after she attended a Cherry Hill community meeting wherein

                            members of the public sought clarification as to their actual status with the BPD.

                                    41.      Furthermore, Lt. Col. Barillaro was less qualified for Major Handley’s position

                            because he had been in the position since January 2016 and was repeatedly praised for his work in

                            recruitment. Under Plaintiff’s leadership, within two (2) years, BPD’s hiring increased by 127%.

                            In a January 19, 2017 interview with the Baltimore Sun, Plaintiff reported that the BPD’s

                            recruiting efforts had rebounded to optimal levels after falling in 2015, with class sizes growing

                            substantially. Wenger, Yvonne, “Pugh wants 100 new patrol officers on Baltimore streets,”

                            Baltimore Sun (01/19/2017) “He also reported that the diversity of recruits is better than it had




                            1
                              A Special Police Officer (SPO) is an individual who is at least 18 years of age who holds a commission granted by
                            the Governor. Generally, the commission authorizes the officer to arrest individuals who trespass or commit offenses
                            on the property described in the commission.
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                            been over the last four (4) years.” On March 1, 2017, De Sousa e-mailed Plaintiff and called him

                            an “all star” with regard to his recruitment effort of a certain applicant.

                                         6. February 11, 2018 – Plaintiff is ordered to provide a statement concerning the
                                            hiring of Officer Doe.

                                   42.      On February 11, 2018 at 0948 hours (9:48 a.m.), Plaintiff received a call from

                            Chief Hill, asking whether he had received his text message. Chief Hill explained that Deputy

                            Commissioner Bonaparte (African American/Male) inquired about the hiring of Officer Doe.

                            Chief Hill provided a summary to Bonaparte about the meeting, the rationale for hiring Officer

                            Doe, and his feelings that there was no need for further action, such as documenting the meeting in

                            an official report. However, Bonaparte ordered Chief Hill to provide him with a report regarding

                            the meeting by close of business on February 12, 2018, as well as ordered Chief Hill to obtain a

                            taped statement or an administrative report from Plaintiff regarding the hiring of Officer Doe.

                            Therefore, Chief Hill ordered Plaintiff to provide him with a detailed administrative report

                            regarding the hiring of Officer Doe. Plaintiff stated that he believed that De Sousa and Bonaparte

                            were subjecting him to a hostile work environment and retaliating against him for not hiring

                            Daniel De Sousa.

                                   43.      On February 12, 2018, Plaintiff provided a written statement to Chief Hill

                            regarding the hiring of Officer Doe. Chief Hill notified Plaintiff that he was recommending that

                            the charges stemming from the ethics investigation over the hiring of Officer Doe be “Not

                            Sustained.” De Sousa refused to sign off on the recommendation. It was not until on or about

                            April 10, 2020 that the charges against Plaintiff were finally closed as “Unfounded.”

                                   44.      Between February 2018 and April 2020, Plaintiff’s reputation and standing within

                            the Department were damaged because the BPD allowed the unfounded charges to linger without

                            timely action and/or dismissal.

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                                         7. February 26, 2018 – De Sousa’s discriminatory comments during the
                                            Commissioner’s Call to Accountability Retreat.

                                   45.      On February 26, 2018, De Sousa led the Commissioner’s Call to Accountability

                            Retreat for command members within the BPD. During the retreat, De Sousa commented that the

                            “BPD suffers from PMS – Pale, Male, Stale” and his admitted goal was to move and remove the

                            “PMS elements” from the Department, which necessarily included Plaintiff. This comment, either

                            alone or within the context of De Sousa’s employment decisions, is direct evidence of his motive

                            to disadvantage Caucasian/Male command members in favor of African America/Male and/or

                            African American/Female command members. The BPD organizational charts under Davis and

                            De Sousa demonstrate that, under De Sousa, there was a substantial shift in the demographic

                            make-up of the command positions within the BPD from Caucasian to African American.

                                         8. March 12, 2018 – De Sousa involuntarily transfers Plaintiff to the Medical
                                            Section.

                                   46.      On March 12, 2018, Plaintiff was ordered to meet with De Sousa at 1600 hours

                            (4:00 p.m.) with no explanation as to the nature of the meeting. When he arrived at the meeting, he

                            observed Captain Dwayne Swinton (African American/Male) in the waiting area. Cpt. Swinton

                            had not informed Plaintiff that he had been called to the meeting, which is unusual since Plaintiff

                            was his immediate supervisor. Also present were Lt. Nicholas Edwards (African American/Male)

                            and Captain Lisa Robinson (African American/Female).

                                   47.      De Sousa met with Captain Robinson first, even though she was a lower rank than

                            Plaintiff. Thereafter, Plaintiff was called into the meeting and discovered that Deputy

                            Commissioner Bonaparte (African American/Male), Colonel Byron Conaway (African

                            American/Male), Colonel Perry Stanfield (African American/Male) and Lt. Colonel Steve Ward

                            (Caucasian/Male) were present. De Sousa advised that he was removing Plaintiff from his current


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                            command at the Southwest District because, in his opinion, he was “not community-oriented.”

                            Plaintiff attempted to provide De Sousa with examples of community-related events that he had

                            attended or was scheduled to attend; however, De Sousa was not receptive. Plaintiff asked De

                            Sousa if he had not been successful in reducing crime, which was his alleged reason for sending

                            him back to the Southwest District as a Major. Plaintiff advised that violent and property crime

                            had been significantly reduced since his return and homicides had been reduced by 75%.

                            Furthermore, he reported that non-fatal shootings and robberies were reduced by 200% and 47%,

                            respectively, as compared to the same period in 2017.

                                   48.     Despite being presented with all the evidence to remain at the Southwest District,

                            De Sousa told Plaintiff that Captain Swinton (African American/Male), who had only been

                            promoted to Captain on January 16, 2018 and had less than two (2) months’ experience as a

                            member of the BPD command staff, would be replacing him at the Southwest District. De Sousa

                            added that, effective immediately, Plaintiff was being transferred to the Medical Section.

                                   49.     Plaintiff was clearly out-performing in his task of reducing crime in the Southwest

                            District in the mere one (1) month that he had been put on the job. In addition, he was being

                            replaced by a less qualified African American Male.

                                   50.     While De Sousa claimed that his reason for implementing the transfer was because

                            Plaintiff was not “community-oriented,” his reason is a pretext for the active discriminatory

                            practices that started with his demotion and involuntary transfer on February 2, 2018. De Sousa’s

                            real reason for transferring Plaintiff to the Medical Section was in keeping with his intent to

                            remove the “Pale, Male, Stale” command staff and replace them with African American Males and

                            Females and retaliation for not hiring his son, Daniel De Sousa.




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                                         9. September 19, 2018 – Lieutenant Colonel Barillaro berates Plaintiff because
                                            he had filed a claim for discrimination, thereby retaliating against him for a
                                            protected activity.

                                   51.      On September 19, 2018, at 1312 hours (1:12 p.m.), Lieutenant Colonel Barillaro,

                            who took over his former position in Recruitment when he was demoted by De Sousa, sent

                            Plaintiff a text message indicating that they needed to meet that day at 3:00 to discuss

                            Interdynamics, the vendor utilized by the BPD for pre-hire psychological screening and other

                            psychological services, stating that it was “very important to reconcile services and records.”

                            Plaintiff responded that he was unable to meet at the requested time due to a prior commitment

                            with his son. She requested that he respond to her office to discuss Interdynamics.

                                   52.      On September 19, 2018 at 1430 hours (2:30 p.m.), Plaintiff met with Lt. Col.

                            Barillaro in her office for a closed-door meeting. They discussed the current process for paying

                            Interdynamics, Inc. based upon their invoices. During the meeting, they discussed a case involving

                            a critical incident debriefing that Interdynamics completed for an officer. Lt. Col. Barillaro

                            became frustrated because the debriefing had not been completed at the direction of Director

                            Vernon Herron of the Health and Wellness Unit. Plaintiff explained that it was an error on the part

                            of the officer’s Sergeant. Without warning, Lt. Col. Barillaro became angry, raised her voice, and

                            accused Plaintiff of being “pissed off” because of his “so-called demotion.” She continued to

                            berate Plaintiff, stating that he had a “chip on his shoulder” because of his “so-called demotion”

                            and further remarked that he “was never really promoted.” She elaborated that many commanders

                            in acting command positions had not had their promotions made permanent. Lt. Col. Barillaro told

                            Plaintiff “to get over it” and remarked that “it was sad that [he] had become this way.” Her

                            attitude was accusatory, angry, disrespectful, and humiliating.




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                                    53.      On September 20, 2018, Plaintiff notified his immediate supervisor, Chief Steven

                            O’Dell, of Lt. Col. Barillaro’s actions of the prior day.

                                    54.      Lt. Col. Barillaro’s interactions were blatant examples of retaliation for Plaintiff

                            filing a complaint for discrimination, a protected activity under Title VII.

                                          10. October 4, 2018 - Plaintiff is removed from the Groupme texting group for
                                              command members, an avenue for sharing information regarding certain
                                              crime activities and incidents.

                                    55.      On October 4, 2018 at 1725 hours (5:25 p.m.), Lieutenant Colonel Richard Worley

                            and Plaintiff were working in the Command Center as members of the Fleet Week Command. Lt.

                            Colonel Worley asked Plaintiff if he was aware that Colonel Deron Garrity, the Chief of Patrol,

                            had removed him from Groupme. Groupme is a group texting application that is used by members

                            of Command for sharing information about violent crime and other notable incidents. Plaintiff

                            responded that he was not aware that he had been removed and had not received any notification

                            or explanation as to why this may have occurred.

                                    56.      Lt. Col. Worley showed Plaintiff his phone and it was noted that the following

                            members had been removed from Groupme by Colonel Garrity on October 4th, 2018, along with

                            Plaintiff:

                                    •        Chief Perry Standfield: Standfield had resigned earlier on October 4th, 2018 after
                                             an incident involving him and Chief of Staff Jim Gillis;

                                    •        Lieutenant Gersham Cupid: Cupid was suspended and had an active Internal
                                             Affairs Investigation regarding his conduct; and

                                    •        Lieutenant Colonel Steve Ward: Ward was on medical leave but also may have
                                             had pending disciplinary issues.

                                    57.      Plaintiff’s removal from Groupme was humiliating and demeaning as it is

                            accessible by Command members as well as Lieutenants and Sergeants. Being removed from

                            Groupme at the same time as Chief Standfield, Lieutenant Colonel Ward and Lieutenant Cupid

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                            suggested that Plaintiff was not in good standing with the BPD. This action was just one more

                            example of a continuing course of harassment and retaliation by members of the BPD’s Command

                            Staff who have ties to De Sousa. Colonel Deron Garrity was promoted to Lieutenant Colonel by

                            De Sousa. He was promoted to Colonel by Interim Police Commissioner Tuggle, who was hand-

                            selected by De Sousa.

                                                                          COUNT I
                                                  Racial and Sex (Gender) Discrimination in Violation of
                                            Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et. seq.

                                      58.   The forgoing paragraphs are realleged and incorporated by reference herein.

                                      59.   Plaintiff was in a protected class based on his race (Caucasian) and sex/gender

                            (Male).

                                      60.   On February 2, 2018, Plaintiff was demoted by De Sousa from his position as

                            Acting Inspector to Major and reassigned to a less desirable wok location (Southwest District) and

                            replaced with a less qualified female employee (Barillaro).

                                      61.   During this same period, De Sousa discriminatorily demoted and/or failed to honor

                            the promotions of two other Caucasian officers while simultaneously promoting and/or honoring

                            the promotions of seven African American officers.

                                      62.   Plaintiff was qualified for the promotion and not selected for the promotion by De

                            Sousa.

                                      63.   Less qualified African American and/or Female personnel were promoted over

                            Plaintiff.

                                      64.   The BDP’s conduct in failing to promote Plaintiff and reassigning him to a less

                            desirable work location constitutes discrimination based on race and sex in violation of Title VII.




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                                   65.     The reasons stated for the BPD’s actions were not the true reasons, but instead were

                            pretext to hide the BPD’s discriminatory animus.

                                                                         COUNT II
                                                          Racial Discrimination in Violation of
                                          Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et. seq.

                                   66.     The forgoing paragraphs are realleged and incorporated by reference herein.

                                   67.     Plaintiff was in a protected class based on his race (Caucasian).

                                   68.     On February 6, 2018, De Sousa and/or his leadership team opened an Internal

                            Affairs investigation against Plaintiff for alleged hiring violations that were, in fact, fabricated so

                            that De Sousa could cause disciplinary action to be taken against Plaintiff.

                                   69.     De Sousa was motivated by Plaintiff’s race and/or the fact that Plaintiff did not

                            offer his son, Daniel De Sousa (African American), a position with the BPD.

                                   70.     When the Internal Affairs recommended that the charges against Plaintiff be “Not

                            Sustained,” De Sousa refused to accept the recommendation and clear Plaintiff of the fabricated

                            charges.

                                   71.     The BDP’s conduct in opening an Internal Affairs investigation against Plaintiff

                            and refusing to clear him of the same constitutes discrimination based on race in violation of Title

                            VII.

                                   72.     The reasons stated for the BPD’s actions were not the true reasons, but instead were

                            pretext to hide the BPD’s discriminatory animus.

                                                                        COUNT III
                                                          Racial Discrimination in Violation of
                                          Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et. seq.
                                   73.     The forgoing paragraphs are realleged and incorporated by reference herein.

                                   74.     Plaintiff was in a protected class based on his race (Caucasian).

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                                    75.     On March 12, 2018, Plaintiff was reassigned to a less desirable work location

                            (Medical Section) and replaced by a significantly less experienced and less qualified African

                            American officer (Capt. Dwayne Swinton).

                                    76.     At that time of his replacement, Plaintiff was qualified for the assignment at the

                            Southwest District and was performing his duties exceptionally.

                                    77.     The BDP’s conduct in reassigning him to a less desirable work location (Medical

                            Section) constitutes discrimination based on race in violation of Title VII.

                                    78.     The reasons stated for the BPD’s actions were not the true reasons, but instead were

                            pretext to hide the BPD’s discriminatory animus.

                                                                        COUNT IV
                             Retaliation for Engaging in Protected Activities in Violation of Title VII of the Civil Rights
                                                       Act of 1964, 42 U.S.C. §§ 2000e et. seq.

                                    79.     The forgoing paragraphs are realleged and incorporated by reference herein.

                                    80.     Plaintiff engaged in protected activities when filing and pursing a Charge of

                            Discrimination on June 28, 2018.

                                    81.     Plaintiff suffered materially adverse action taken by the BPD when he was berated

                            by Lt. Col. Barillaro during a meeting on September 19, 2018 and when he was removed from the

                            Groupme Text group for BPD Command Members on October 4, 2018.

                                    82.     There is a causal connection between Plaintiff’s protected activities and the

                            retaliatory actions.

                                    83.     The BPD’s conduct constitutes retaliation against Plaintiff because he engaged in

                            activities protected by Title VII.

                                    84.     The reasons stated for the BPD’s actions are not the true reasons, but instead are

                            pretext to hide the BPD’s retaliatory animus.

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                                                                  PRAYER FOR RELIEF

                                   WHEREFORE, Plaintiff, James Handley, respectfully prays that this Court grant him the

                            following relief:

                                           A) Grant judgment in favor of Plaintiff and declare that Defendant has violated

                                                Title VII.

                                           B) Enter a permanent injunction directing Defendant to take all affirmative steps

                                                necessary to remedy the effects of the illegal, discriminatory conduct described

                                                herein and to prevent similar occurrences in the future.

                                           C) Award Plaintiff back pay with interest, back pension benefits with interest,

                                                front pay, compensatory damages, including damages for pain and suffering,

                                                reputational loss, humiliation, embarrassment, and emotional distress in an

                                                amount no less than $500,000 as a result of Defendant’s violation of Title VII.

                                           A) Award Plaintiff reasonable attorneys’ fees and costs incurred in this action; and,

                                           B) Order such other and further relief as this Court deems just and equitable.

                                                                 JURY TRIAL DEMAND

                                   Plaintiff, James Handley, requests a trial by jury as to all Counts.



                                                                                   /s/ Danielle E. Marone
                                                                                   Jo Anna Schmidt, Esq. #10155
                                                                                   Danielle E. Marone, Esq. # 27835
                                                                                   Schmidt, Dailey & O’Neill, LLC
                                                                                   300 East Lombard Street, Suite 1440
                                                                                   Baltimore, Maryland 21202
                                                                                   Phone: (410) 783-1296
                                                                                   Fax: (410) 783-1316
                                                                                   dmarone@sdolaw.com
                                                                                   Attorney for Plaintiff, James Handley

Law Offices                                                                   19
Schmidt, Dailey & O’Neill
300 East Lombard Street
Suite 1440
Baltimore, Maryland 21202
(410) 783-1296
